Case 2:16-cv-02861-TJH-RAO Document 1 Filed 04/26/16 Page 1 of 10 Page ID #:1



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THERESA CHAPPELL


                    UNITED STATES DISTRICT COURT
               FOR THE CENTRAL DISTRICT OF CALIFORNIA

THERESA CHAPPELL,                            Case No.

              Plaintiff,
                                             COMPLAINT FOR DAMAGES
V.


NATIONAL ARBITRATION FORUM
LLC,                                         [JURY TRIAL DEMANDED]
              Defendant.


                                 I. INTRODUCTION

       1.    THERESA CHAPPELL ("Plaintiff') brings this action for damages,

and other available legal or equitable remedies, resulting from the illegal actions

of NATIONAL ARBITRATION FORUM LLC ("Defendant"), in attempts to

collect a consumer debt allegedly owed by Plaintiff.

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II




                                 COMPLAINT FOR DAMAGES
     Case 2:16-cv-02861-TJH-RAO Document 1 Filed 04/26/16 Page 2 of 10 Page ID #:2



                               II. JURISDICTION AND VENUE

           2.       Jurisdiction of this court arises pursuant to 15 US. C. 1692k(d),
3

4    which states that such actions may be brought and heard before "any appropriate
 5
     United States district court without regard to the amount in controversy," and 28
6

 7   US. C. 1367 grants this court supplemental jurisdiction over the state claims
 8
     contained therein.
 9

10
            3.      Defendant conducts business in the state of California, and therefore,

11   personal jurisdiction is established. Venue is proper pursuant to 28 U.S. C.
12
     1391(b) (2).
13

14          4.      Declaratory relief is available pursuant to 28 US. C. 2201 and 2202.
15

16                                      III. PARTIES
17
            5.      Plaintiff THERESA CI-IAPPELL is, and at all times mentioned
18
     herein was, an individual citizen of the State of California, and resident of the
19

20   County of Los Angeles.
21
            6.      Upon information and belief, Defendant, NATIONAL
22

23   ARBITRATION FORUM LLC is a limited liability company with its
24
     headquarters in Niagara, New York. Defendant also conducts business in the
25

26
     name DISPUTE RESOLUTION CENTER. Defendant is wholly responsible for

27   the injuries to Plaintiff as set forth below.
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     II

                                                -2-

                                      COMPLAINT FOR DAMAGES
Case 2:16-cv-02861-TJH-RAO Document 1 Filed 04/26/16 Page 3 of 10 Page ID #:3



II
      7.     Defendant is engaged in the collection of debts from consumers

using the mail and telephone. Defendant regularly attempts to collect consumer

debts alleged to be due to another.

       8.    Plaintiff is a "consumer" as defined by the Fair Debt Collection

Practices Act ("FDCPA"), 15 U.S.C. 1692a(3), and a "debtor" as defined by the

Rosenthal Fair Debt Collection Practices Act ("RFDCPA"), California Civil Code

1788.2(h).

      9.     The purported debt that Defendant attempted to collect from Plaintiff

was a "debt" as defined by the FDCPA, 15 U.S.C. § 1692a(5) and a "consumer

debt" as defined by the Rosenthal Act, California Civil Code § 1788.2(f).

       10.   Defendant is a debt collector as that term is defined by 15 U.S.C.

1692a(6) and Cal. Civ. Code § 1788.2(c), and sought to collect a consumer debt

from Plaintiff.

       11.   Defendant acted through its agents, employees, officers, members,

directors, heirs, successors, assigns, principals, trustees, sureties, subrogees,

representatives, and insurers.

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                                           -3-

                                 COMPLAINT FOR DAMAGES
     Case 2:16-cv-02861-TJH-RAO Document 1 Filed 04/26/16 Page 4 of 10 Page ID #:4



                              IV. FACTUAL ALLEGATIONS
 2
            12. In or about August, 2015, Defendant sought to collect on an alleged
 3

 4   debt (the "alleged debt") by calling Plaintiff.
 5
            13. The alleged debt is claimed to have been used primarily for personal,
 6

 7   family, or household purposes.
 8
            14. On August 20, 2015, Defendant left Plaintiff a voicemail message
 9

10
     stating that the call was from a person by the name of Investigator Chelsea

11   Benner from division one legal service department regarding the alleged debt.
12
     Investigator Chelsea Benner further stated that she had a certified court matter
13

14   regarding the alleged debt charged to deliver on August 24, 2015, that this will
15
     take place at Plaintiff's place of employment, and Plaintiff's supervisor is
16

17
     required to be present as a witness.
18          15.   To date, Plaintiff was not served with a lawsuit by Defendant.
19
            16. To date, Plaintiff was not sued by Defendant for the alleged debt.
20

21          17. Within five days of Defendant's first contact with Plaintiff,
22
     Defendant failed to send Plaintiff a written notice that included the following
23

24   required by the FDCPA:
25
                  (1) the amount of the debt;
26
                  (2) the name of the creditor to whom the debt is owed;
27

28                (3) a statement that unless the consumer, within thirty
                  days after receipt of the notice, disputes the validity of

                                                -4-

                                      COMPLAINT FOR DAMAGES
     Case 2:16-cv-02861-TJH-RAO Document 1 Filed 04/26/16 Page 5 of 10 Page ID #:5



                  the debt, or any portion thereof, the debt will be assumed
 2                to be valid by the debt collector;
 3
                  (4) a statement that if the consumer notifies the debt
 4                collector in writing within the thirty-day period that the
 5
                  debt, or any portion thereof, is disputed, the debt
                  collector will obtain verification of the debt or a copy of
 6                a judgment against the consumer and a copy of such
 7                verification or judgment will be mailed to the consumer
                  by the debt collector; and
 8

 9                (5) a statement that, upon the consumer's written request
10
                  within the thirty-day period, the debt collector will
                  provide the consumer with the name and address of the
11                original creditor, if different from the current creditor.
12
                  (15   Usc   1692g).
13

14         18. Within five days of Defendant's first contact with Plaintiff,
15
     Defendant failed to send Plaintiff a written notice that included the following
16

17
     language required by the RFDcPA:
18
                  The state Rosenthal Fair Debt collection Practices Act
19                and the federal Fair Debt collection Practices Act require
                  that, except under unusual circumstances, collectors may
20
                  not contact you before 8 a.m. or after 9 p.m. They may
21                not harass you by using threats of violence or arrest or by
22
                  using obscene language. collectors may not use false or
                  misleading statements or call you at work if they know or
23                have reason to know that you may not receive personal
24                calls at work. For the most part, collectors may not tell
                  another person, other than your attorney or spouse, about
25
                  your debt. collectors may contact another person to
26                confirm your location or enforce a judgment. For more
27
                  information about debt collection activities, you may
                  contact the Federal Trade commission at 1-877-FTC-
28                HELP or www.flc.gov .


                                                 -5-

                                        COMPLAINT FOR DAMAGES
     Case 2:16-cv-02861-TJH-RAO Document 1 Filed 04/26/16 Page 6 of 10 Page ID #:6



                  (Cal. Civ. Codes 1812.700).
 2
            19. As a result of Defendant acts and omissions, Plaintiff has suffered
 3

 4   and continues to suffer severe emotional distress.
 5
                        COUNT I: VIOLATION OF THE FAIR DEBT
 6                         COLLECTION PRACTICES ACT
 7
            20. Plaintiff reincorporates by reference all of the preceding paragraphs.
 8

 9          21. Defendant violated the FDCPA based on the following:
10
                   a.       Defendant violated §1692d of the FDCPA by engaging in
11

12   conduct the natural consequence of which is to harass, oppress, or abuse any
13
     person.
14
                  b.        Defendant violated §1692d(1) of the FDCPA by using or
15

16   threating criminal means to harm the physical person, reputation, or property of
17
     Plaintiff.
18

19                C.        Defendant violated §1692d(2) of the FDCPA by using
20
     obscene or profane language or language the natural consequence of which is to
21

22
     abuse the Plaintiff.

23                 d.       Defendant violated § 1 692e(2)(A) by falsely representing
24
     the character, amount, or legal status of Plaintiff's debt.
25

26                 e.       Defendant violated § 1 692e(4) by representing or implying
27
     that nonpayment of Plaintiff's debt would result in the seizure, garnishment,
28




                                                -6-

                                       COMPLAINT FOR DAMAGES
     Case 2:16-cv-02861-TJH-RAO Document 1 Filed 04/26/16 Page 7 of 10 Page ID #:7



     attachment, or sale of Plaintiff's property or wages, where such action is not
 2
     lawful or Defendant did not intend to take such action.
 3

 4                e.     Defendant violated § 1 692e(5) by threatening to take an action
 5
     against Plaintiff that cannot be legally taken or that was not actually intended to
 6

 7   be taken.
 8
                  f.     Defendant violated § 1692e(7) by falsely representing or
 9

10
     implying that the Plaintiff committed any crime or other conduct in order to

II   disgrace the consumer.
12
                  g.     Defendant violated § 1692e(1 O) by using false representations
13

14   and deceptive practices in connection with collection.
15

16                h.     Defendant violated §1692e(1 1) by failing to notify Plaintiff
17
     that the communication was an attempt to collect a debt and any information
18

19
     obtained would be used for that purpose.
20
                  i.     Defendant violated §1692g(a)(1) by failing to send Plaintiff a
21
     written notice within five days of the initial communication that included the
22

23   following: the amount of the debt.
24
                  j.      Defendant violated §1692g(a)(2) by failing to send Plaintiff a
25

26   written notice within five days of the initial communication that included the
27
     following: the name of the creditor to whom the debt is owed.
28




                                               -7-

                                     COMPLAINT FOR DAMAGES
     Case 2:16-cv-02861-TJH-RAO Document 1 Filed 04/26/16 Page 8 of 10 Page ID #:8



                  k.     Defendant violated § 1 692g(a)(3) by failing to send Plaintiff a
 2
     written notice within five days of the initial communication that included the
 3

 4   following: a statement that unless the consumer, within thirty days after receipt of
 5
     the notice, disputes the validity of the debt, or any portion thereof, the debt will
 6

 7   be assumed to be valid by the debt collector.
 8
                  1.     Defendant violated §1692g(a)(4) by failing to send Plaintiff a
 9

10
     written notice within five days of the initial communication that included the

II   following: a statement that if the consumer notifies the debt collector in writing
12
     within the thirty-day period that the debt, or any portion thereof, is disputed, the
13

14   debt collector will obtain verification of the debt or a copy of a judgment against
15
     the consumer and a copy of such verification or judgment will be mailed to the
16

17
     consumer by the debt collector.

18                M.     Defendant violated § 1 692g(a)(5) by failing to send Plaintiff a
19
     written notice within five days of the initial communication that included the
20

21   following: a statement that, upon the consumer's written request within the thirty-
22
     day period, the debt collector will provide the consumer with the name and
23

24   address of the original creditor, if different from the current creditor.
25
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28   II


                                               -8-

                                     COMPLAINT FOR DAMAGES
     Case 2:16-cv-02861-TJH-RAO Document 1 Filed 04/26/16 Page 9 of 10 Page ID #:9



                                  PRAYER FOR RELIEF
 2
           WHEREFORE, Plaintiff respectfully prays that judgment be entered
 3

 4   against Defendant for the following:
 5
                  A.    Declaratory judgment that Defendant's conduct violated the
 6

 7   FDCPA;
 8
                  B.    Actual damages;
 9
                  C.     Statutory damages;
10

                  D.     Punitive damages;
Ip
                  E.     Costs and reasonable attorney's fees; and,
13

14                F.     For such other and further relief as may be just and proper.
15
                COUNT II: VIOLATION OF THE ROSENTHAL FAIR
16                  DEBT COLLECTION PRACTICES ACT
17
           22. Plaintiff repeats and realleges all of the allegations in Count I of
18

19   Plaintiffs Complaint as the allegations in Count II of Plaintiff's Complaint.
20
           23. To the extent that Defendant's actions, counted above, violated the
21

22
     RFDCPA, those actions were done knowingly and willfully.

23         24. Defendant violated the RFDCPA based on the following:
24
                  a.     Defendant violated the § 1788.17 of the RFDCPA by
25

26   continuously failing to comply with the statutory regulations contained within the
27
     FDCPA, 15 U.S.C. § 1692 et seq.
28




                                              -9-

                                    COMPLAINT FOR DAMAGES
Case 2:16-cv-02861-TJH-RAO Document 1 Filed 04/26/16 Page 10 of 10 Page ID #:10



               b.      Defendant violated the Cal. Civ. Code § 18 12.700 by failing to

 include the specific language required by § 1812.700.

                               PRAYER FOR RELIEF

        WHEREFORE, Plaintiff respectfully prays that judgment be entered

 against the Defendant for the following:

                A.     Declaratory judgment that Defendant's conduct violated the

 RFDCPA;

                B.     Actual damages;

                C.     Statutory damages for willful and negligent violations;

                D.     Punitive Damages;

                E.     Costs and reasonable attorney's fees,

                F.     For such other and further relief as may be just and proper.

             PLAINTIFF HEREBY REQUESTS A TRIAL BY JURY

        PLEASE TAKE NOTICE that Plaintiff THERESA CHAPPELL demands a

 jury trial in this case.



 Dated: April 26, 2016                            LAW OFFICE OF ERIC SAPIR


                                                  By
                                                        Eric Sapir
                                                        Attorney for Plaintiff
                                                        THERESA CHAPPELL


                                           -10-

                                  COMPLAINT FOR DAMAGES
